        Case 4:08-cr-00220-BLW Document 201 Filed 11/20/12 Page 1 of 9




                         UNITED STATES DISTRICT COURT


                            FOR THE DISTRICT OF IDAHO


 JORGE MANUEL ARGUELLES-                        Case No. 4:10-cv-00371-BLW
 BRISENO,                                                4:08-cr-00220-BLW

                  Petitioner/Defendant,         MEMORANDUM DECISION AND
                                                ORDER
        v.
 UNITED STATES OF AMERICA,
                  Respondent.


       Before the Court is a Petition (Dkt. 1) to Vacate, Set Aside, or Correct Sentence

under 28 U.S.C. § 2255, by Defendant/Petitioner Jorge Manuel Arguelles-Briseno.

Petitioner also moved to amend his petition (Dkt. 27). The Government opposes both,

and moves to dismiss the petition (Dkt. 20). Petitioner has filed a Supplement (Dkt. 5),

Reply (Dkt. 24), and Response (Dkt. 33) to the Government’s Motion. Being familiar

with the record and having considered the briefing, the Court will grant Petitioner’s

Motion to Amend, but grant the Government’s Motion dismissing the Amended Petition

as discussed below.

                                    BACKGROUND

       Petitioner was charged with counts one, two, and three in criminal case no. 08-cr-

00220, involving four co-defendants. Those counts charged conspiracy to distribute

methamphetamine and cocaine in violation of 21 U.S.C. §§ 846 and 841(a)(1) and


MEMORANDUM DECISION AND ORDER - 1
          Case 4:08-cr-00220-BLW Document 201 Filed 11/20/12 Page 2 of 9




(b)(1)(A), and two counts of possession with intent to distribute a controlled substance in

violation of 21 U.S.C. § 841(a)(1) and (b)(1)(A) and 18 U.S.C. § 2. Second Superseding

Indictment, Dkt. 68 in criminal case.1 Petitioner pleaded guilty pursuant to a written plea

agreement (Dkt. 96), in which the Government agreed to dismiss the conspiracy charge

and one of two possession charges. On February 9, 2010, Petitioner was sentenced to a

135 month term of incarceration. Judgment, Dkt. 136. Petitioner timely appealed.

Notice, Dkt. 140. But the Ninth Circuit dismissed Petitioner’s appeal, finding he had

knowingly and voluntarily waived his appeal rights. Order, Dkt. 193.

         In Petitioner’s motion under 28 U.S.C. § 2255, he alleges ineffective assistance of

trial counsel, claiming that (1) counsel threatened him into accepting his plea agreement;

(2) counsel conducted no pretrial discovery; and (3) counsel did not represent him at

sentencing. Petitioner also argues he is entitled to appeal his sentence, despite his written

waiver of appeal rights, because the court allegedly exceeded the sentencing guideline

range.

                                       LEGAL STANDARD

         A prisoner asserting the right to be released “may move the court which imposed

the sentence to vacate, set aside or correct the sentence” under 28 U.S.C. § 2255(a).

Section 2255 provides four grounds that justify relief for a federal prisoner who

challenges the fact or length of his detention: (1) whether “the sentence was imposed in

violation of the constitution or laws of the United States”; (2) whether the court was

1
 Throughout the Background section only, citations to the Court Docket shall refer to entries in
petitioner’s criminal case no. 08-cr-00220, unless otherwise identified.


MEMORANDUM DECISION AND ORDER - 2
        Case 4:08-cr-00220-BLW Document 201 Filed 11/20/12 Page 3 of 9




without jurisdiction to impose such sentence; (3) whether the sentence was “in excess of

the maximum authorized by law”; or (4) whether the sentence is “otherwise subject to

collateral attack.” See Hill v. United States, 368 U.S. 424, 428 (1962). Despite this

seemingly broad language, “the range of claims which may be raised in a § 2255 motion

is narrow.” United States v. Wilcox, 640 F.2d 970, 972 (9th Cir. 1981).

       Where a motion under § 2255 is based on alleged constitutional or jurisdictional

error, one must be careful to distinguish mere errors of law or fact. See Charles Alan

Wright & Arthur R. Miller, Federal Practice and Procedure § 593 (2d ed. 1982). If the

alleged error is one of law or fact, then § 2255 does not provide a basis for collateral

attack “unless the claimed error constituted ‘a fundamental defect which inherently

results in a complete miscarriage of justice.’” United States v. Addonizio, 442 U.S. 178,

185 (1979) (citing Hill, 368 U.S. at 428).

       The Court recognizes that a response from the government and a prompt hearing

are required “[u]nless the motion and the files and records of the case conclusively show

that the prisoner is entitled to no relief . . ..” 28 U.S.C. § 2255(b); United States v. Leonti,

326 F.3d 1111, 1116 (9th Cir. 2003)(quotation omitted). To withstand summary

dismissal, a defendant “must make specific factual allegations which, if true, would

entitle him to relief on his claim.” United States v. Keller, 902 F.2d 1391, 1395 (9th Cir.

1990). Conclusory statements, without more, are insufficient to require a hearing.

United States v. Johnson, 988 F.2d 941, 945 (9th Cir. 1993).




MEMORANDUM DECISION AND ORDER - 3
        Case 4:08-cr-00220-BLW Document 201 Filed 11/20/12 Page 4 of 9




                                         ANALYSIS

       As discussed below, even if the Court were to accept all of Petitioner’s allegations

as true, he still fails to raise allegations sufficient to warrant a hearing. Thus, the Court

will consider the matter based on the record and pleadings before it.

1.      Ineffective Assistance of Counsel

       A claim of ineffective assistance of trial counsel need not be raised on direct

appeal to preserve the issue for collateral attack. United States v. Withers, 638 F.3d 1055,

1066 (9th Cir. 2011) (citing Massaro v. United States, 538 U.S. 500, 505 (2003)). To

prove ineffective assistance of counsel, a petitioner has the burden of showing (1) that

counsel performed so deficiently as to fall below an objective standard of reasonableness;

and (2) prejudice – that but for counsel’s deficiencies, the outcome would have been

different. Strickland v. Washington, 466 U.S. 668, 687-694 (1984).

       In evaluating counsel’s performance, there is a strong presumption favoring a

finding of effectiveness. Kimmelman v. Morrison, 477 U.S. 365, 381 (1986)(citation

omitted). The question is not “what the best lawyers would have done,” but whether a

reasonable lawyer in counsel’s circumstances would have acted similarly. Coleman v.

Calderon, 150 F.3d 1105, 1113 (9th Cir. 1998), rev’d on other grounds, 525 U.S. 141

(1998). To earn the right to a hearing, a movant “must make specific factual allegations

which, if true, would entitle him to relief on his claim.” Keller, 902 F.2d at 1395.




MEMORANDUM DECISION AND ORDER - 4
          Case 4:08-cr-00220-BLW Document 201 Filed 11/20/12 Page 5 of 9




         A.     Advice To Accept Plea

         Petitioner first argues that his trial counsel, Steven Boyce, “threatened” that if he

did not accept the plea, he would be incarcerated for life. In an affidavit to the Court, Mr.

Boyce denies that he made such a threat. Counsel Aff., Dkt. 19-1. However, even if the

Court were to accept Petitioner’s allegation as true, it is insufficient to support an

ineffective assistance of counsel claim.

         The Court first considers whether Petitioner’s plea was knowing and voluntary. In

McCarthy v. U.S., cited by Petitioner, the Supreme Court addressed whether a district

judge properly assumed that defendant understood the nature and consequences of his

plea. 394 U.S. 459, 464 (1969). However, in that case, the court made no inquiry of

defendant about his understanding. In contrast here, the transcript of Petitioner’s plea

shows that Judge Bush asked whether Petitioner understood the maximum penalties he

potentially faced, and the nature of the charges against him, after the U.S. Attorney read

the charges aloud. Plea Trans., Dkt. 19-2 at 10-14. At no point did Petitioner indicate

that he did not understand the charges or penalties, and he acknowledged, in his own

words, that he engaged in the crimes charged. Id.

         Notably, when asked if he was satisfied with Mr. Boyce’s representation,

Petitioner answered: “Yes. He’s a good lawyer.” Id. at 8. And after Judge Bush asked

if anyone threatened Petitioner to get him to plead guilty, Petitioner responded, “No.” Id.

at 15.




MEMORANDUM DECISION AND ORDER - 5
         Case 4:08-cr-00220-BLW Document 201 Filed 11/20/12 Page 6 of 9




       Given the careful and thorough colloquy between Judge Bush and Petitioner,

including Petitioner’s statements in his own words, the Court is satisfied that Petitioner’s

plea was knowing and voluntary. More specifically, the Court is satisfied that he

understood the nature of the charges against him, the actual penalties that he faced, and

the consequences of his guilty plea.

       Further, Petitioner has not alleged that he would have been found not guilty, or

received a lesser sentence, had he proceeded to trial. Absent allegation to the contrary,

the record supports that ample evidence supported the charges against Petitioner. The

conpsiracy and possession charges against Petitioner that were dismissed by virtue of his

plea agreement, carried maximum penalties of life in prison. 21 U.S.C. §§ 846, 841(a)(1)

and (b)(1)(A). Thus, had he proceeded to trial, Petitioner in fact faced the possibility of

life in prison.

       Given these considerations, even if counsel “threatened” Petitioner that he faced

incarceration for life if he did not accept the plea, Petitioner has not established the

second prong of Strickland – prejudice. The record tends to support that counsel’s

warning, while seemingly harsh, informed Petitioner of the reality of his situation.

Petitioner has offered no basis for a finding that he is in a worse position having pleaded

guilty, as advised by counsel. Accordingly, the Court rejects Petitioner’s first argument.

       B.         Pre-Trial Discovery and Sentencing

       Petitioner next argues that his counsel failed to conduct pre-trial discovery. In

support, Petitioner points to grand jury testimony by Detective Javier Bustos. Am.



MEMORANDUM DECISION AND ORDER - 6
        Case 4:08-cr-00220-BLW Document 201 Filed 11/20/12 Page 7 of 9




Petition, Dkt. 27-2. According to Petitioner, Detective Bustos’s testimony supports that

Petitioner did not have a leadership role in the criminal conspiracy. Petitioner argues that

counsel performed deficiently by failing to investigate and pursue Detective Bustos as a

defense witness. As noted above, the record establishes that Petitioner knowingly and

voluntarily entered into his plea agreement. Thus, the depth of counsel’s pre-trial

investigation is not at issue. Rather, the question is whether counsel was deficient in

failing to defend Petitioner’s limited role in the conspiracy at sentencing.

       In answering this question, the Court need not accept as true Petitioner’s

conclusory allegation that counsel failed to conduct an investigation into Petitioner’s role.

Johnson, 988 F.2d at 945. Looking at the record, the transcript from sentencing reveals

that counsel in fact argued that his client was not an organizer or initiator of the offense.

Sent. Trans., Dkt. 19-4. Counsel’s statement to the Court indicates that he spent 21 hours

reviewing records and discovery, and “considered all possible defenses and . . . further

investigation” necessary for his client’s defense. Counsel Aff., Dkt. 19-1. There is

simply no evidence to support a finding that counsel performed deficiently at Petitioner’s

sentencing. The Court will therefore reject Petitioner’s second and third arguments.

2.     Sentencing Guideline Range

       Petitioner’s final argument is that his sentence exceeded his sentencing guideline

range, thus under the terms of his plea agreement, he should be permitted to appeal.

Petitioner is correct that his plea agreement permitted an appeal in limited circumstances,

which included where this Court imposed a sentence that exceeded the sentencing



MEMORANDUM DECISION AND ORDER - 7
        Case 4:08-cr-00220-BLW Document 201 Filed 11/20/12 Page 8 of 9




guideline range determined by the Court. But, as the Ninth Circuit already found,

Petitioner is not entitled to appeal; no exception to his waiver of appeal rights is

applicable.

       Petitioner, and Petitioner’s counsel argued that he did not have a leadership role in

the crimes for which he pleaded guilty. However, the Court disagreed; the guideline

range determined by the Court was 135 – 168 months, not the 108 – 135 months

suggested by Petitioner. Sent. Trans., Dkt. 19-4 at 7; Pet. Suppl., Dkt. 5 at 2. Even so,

the Court sentenced Petitioner to 135 months in prison, which falls within either

guideline range. In light of these facts, the Court finds no basis to alter the sentence

imposed. For all of the foregoing reasons, the petition will be denied.

                                          ORDER

       IT IS ORDERED THAT:

       1.      Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence (Dkt. 1)

under § 2255 is DENIED.

       2.     Petitioner’s Motion to Amend (Dkt. 27) is GRANTED. The Court, having

considered the supplemental arguments, the Amended Petition (Dkt. 27-2) is DENIED.

       3.     The Government’s Motion to Dismiss (Dkt. 20) is GRANTED.

       4.     Judgment to be entered separately.




MEMORANDUM DECISION AND ORDER - 8
       Case 4:08-cr-00220-BLW Document 201 Filed 11/20/12 Page 9 of 9




                                        DATED: November 20, 2012


                                        _________________________
                                        B. Lynn Winmill
                                        Chief Judge
                                        United States District Court




MEMORANDUM DECISION AND ORDER - 9
